
Mr. Justice Sutton
delivered the opinion of the Court.
Wright J. Morgan, Jr., you stand before this court charged with professional misconduct.
The record before us reveals you were admitted to the practice of law in Colorado on February 21, 1958, and have continuously so engaged since that date. It further discloses that our Supreme Court Grievance ■Committee, upon complaint to it and investigation, and, after a full hearing afforded to you, has found that you have been guilty of professional misconduct not in keep*528ing with the highest standards of honesty, justice and morality.
Specifically, our Committee found that in connection with the complaint of Carl Coerber, et ah, you failed at certain crucial times to appear in court for your clients in a civil action after due notice to you in connection with various hearings. The end result in that case was that a default judgment was taken against your clients, their counterclaim was dismissed, and Charles Coerber was jailed on a body execution. It further appears that you then failed to take affirmative action to attempt to secure the release of Mr. Coerber and that other counsel had to be retained to accomplish that act even though you had been informed of his plight.
Our Committee further found in connection with the complaint against you of Merrill M. and Lois V. Rossen that you failed, in a timely manner, to prepare and file a complaint on a medical malpractice claim, thus permitting the running of the statute of limitations and depriving your then clients of a valuable right.
In mitigation of your admitted derelictions of your professional duty you have asserted certain personal difficulties.
You have been advised of our Committee’s finding and its recommendation of a public censure and have elected not to file any exceptions to its report.
Mr. Morgan, a review of the record indicates that the recommendation of our Committee is fully justified. Conduct such as yours serves to bring disrepute upon the le*?al profession. The public should be entitled to rely upon an attorney fully and properlv fulfil lins? his duties in the matters entrusted to him. You have failed in that trust Your professional resoonsibilities in the matters complained of cannot be lightly brushed away, and we hereby publicly reprimand and censure you for your conduct and failures to act in the above cases. You are hereby declared to be guilty of unprofessional con*529duct not in keeping with the high standards required of lawyers admitted to the bar of this state. You are advised that any further professional misconduct on your part will be even more severly dealt with. You are ordered to pay to the clerk of this court, within sixty days hereafter, the sum of $36.00 for the costs incurred in this proceeding.
